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February 8, 2024

This is a request for records under the Freedom of Informa;on Act (“FOIA”), 5 U.S.C. § 552 and
the Privacy Act, 5 U.S.C. § 552a. This request should be considered under both statutes to
maximize the release of records. This request seeks expedited processing.

I request disclosure from the FBI the following records:

1. A copy of the FBI's inves;ga;ve case ﬁle (including opening and
closing memorandum) referencing the FBI search of President Joe Biden's
residence and think tank where classiﬁed records were found and retrieved.

2. All FD-302s or other transcripts or summaries of interviews (handwriZen
and typed) FBI agents conducted with individuals as part of Special Counsel
Robert Hur's inves;ga;on of President Biden's handling of classiﬁed
records found at his residence and think tank.

3. LeZers, memos, reports, emails documen;ng the FBI's formal requests for
a classiﬁca;on review from other execu;ve branch/federal government
agencies related to the classiﬁed documents retrieved from President
Biden's residence and think tank and the ﬁnal responses the agencies sent
to FBI.

According to Special Counsel Robert Hur's report: "The FBI and the Special
Counsel's Oﬃce undertook an extensive inves;ga;on into Mr. Biden's
handling of classiﬁed informa;on and of the classiﬁed documents the FBI
seized. We applied our best eﬀorts to conduct the inves;ga;on thoroughly
and expedi;ously. Inves;gators conducted 173 interviews of 147 witnesses,
including Mr. Biden himself."

Reasonably Foreseeable Harm. The FOIA Improvement Act of 2016 amended the
FOIA as follows (5 USC 552(a)(8)):

(A) An agency shall”

(i) withhold informa;on under this sec;on only if”

(I) the agency reasonably foresees that disclosure would harm an interest
protected by an exemp;on described in subsec;on (b); or

(II) disclosure is prohibited by law; and

(ii) (I) consider whether par;al disclosure of informa;on is possible
whenever the agency determines that a full disclosure of a requested record


                                                                                       Exhibit 1
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is not possible; and

(II) take reasonable steps necessary to segregate and release nonexempt
informa;on. . . .

FBI and its components should not fail to meet the requirements of Sec;on
552(a)(8) when processing my request and release responsive records to me in
full or at least in part.

EXPEDITED PROCESSING

On Feb. 8, 2024, the Department of Jus;ce released a 388-page copy of
Special Counsel Robert Hur's report of his year-long inves;ga;on into
President Biden's handling of classiﬁed papers during his tenure as Vice
President. Although the report recommended that the president not face
criminal charges the substance of the ﬁndings were a scathing cri;que of
President Biden's duty to protect classiﬁed informa;on and raise numerous
issues about his memory, both of which will no doubt become an issue during
the hotly contested 2024 presiden;al campaign where President Biden will
likely square oﬀ against former President Trump who is facing a criminal
trial over his handling of classiﬁed presiden;al records.

The statements in Special Counsel Hur's report about President Biden's
memory failures during his interview with the Special Counsel's oﬃce raise
ques;ons about his ﬁtness to serve as president for a second term but
importantly beg for addi;onal context so the public can see ﬁrst hand how
ques;ons were presented and what President Biden's full answers were.

Moreover, President Biden's White House counsel and his personal lawyer
responded to Special Counsel Hur's report in a ﬁve-page leZer that sharply
cri;qued some of the report's ﬁndings, notably Mr. Hur's statements about
the President's memory, which the lawyers strongly suggested was tantamount
to Mr. Hur editorializing.

This raises serious ques;ons about the veracity of the substance of the
report and whether it was truly based on a factual representa;on of the
witnesses statements as well as President Biden's responses or whether
Special Counsel Hur inserted his own commentary for par;san poli;cal
purposes during an elec;on year.

There is no ques;on there is an overwhelming public interest in this maZer
and that the transcripts will reveal actual or alleged federal government
ac;vity.
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As senior inves;ga;ve reporter at Bloomberg News, I am a full-;me member
of the news media. I therefore qualify as a person primarily engaged in
dissemina;ng informa;on. The very purpose of the FOIA is to lessen the
public's dependency on oﬃcial government statements and open the
underlying documents to public scru;ny. This is clearly an instance in
which expedited processing of a FOIA request is warranted. These records are
not being requested for commercial purposes. I intend to use these records
to write news stories and inform the public.

I cer;fy the foregoing to be true and correct to the best of my knowledge
and belief. _/s/_________JL______________ Jason Leopold

FEE CATEGORY AND REQUEST FOR A FEE WAIVER

I am a senior inves;ga;ve reporter for Bloomberg News and formerly senior inves;ga;ve
reporter for BuzzFeed News and formerly senior inves;ga;ve reporter and on-air correspondent
for VICE News. Addi;onally, my repor;ng has been published in The Guardian, The Wall Street
Journal, The Financial Times, Salon, CBS Marketwatch, The Los Angeles Times, The Na;on,
Truthout, Al Jazeera English and Al Jazeera America. I am ﬁling this request on behalf of myself
and Bloomberg News,

I request a complete waiver of all search and duplica;on fees. If my request for a waiver is
denied, I request that I be considered a member of the news media for fee purposes.

Under 5 U.S.C. §552(a)(4)(A)(iii), “Documents shall be furnished without any charge ... if
disclosure of the informa;on is in the public interest because it is likely to contribute
signiﬁcantly to public understanding of the opera;ons or ac;vi;es of the government and is not
primarily in the commercial interest of the requester.” Disclosure in this case meets the
statutory criteria, as the records sought to detail the opera;ons and ac;vi;es of government.
This request is also not primarily in my commercial request, as I am seeking the records
as a journalist to analyze and freely release to members of the public.

If I am not granted a complete fee waiver, I request to be considered a member of the news
media for fee purposes. I am willing to pay all reasonable duplica;on expenses incurred in
processing this FOIA request.

I will appeal any denial of my request for a waiver administra@vely and to the courts if
necessary.
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                                                                  Exhibit 2
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                                                                   Gmail1-1     Filed Received
                                                                          eFOIA Request 02/20/24                Page 6 of 10
               Waiver Explanation       I am a senior investigative reporter for Bloomberg News and
                                        formerly senior
                                        investigative reporter for BuzzFeed News and formerly senior
                                        investigative
                                        reporter and on-air correspondent for VICE News. Additionally,
                                        my reporting
                                        has been published in The Guardian, The Wall Street Journal,
                                        The Financial
                                        Times, Salon, CBS Marketwatch, The Los Angeles Times, The
                                        Nation, Truthout,
                                        Al Jazeera English and Al Jazeera America. I am filing this
                                        request on
                                        behalf of myself and Bloomberg News,

                                        I request a complete waiver of all search and duplication
                                        fees. If my
                                        request for a waiver is denied, I request that I be considered
                                        a member of
                                        the news media for fee purposes.

                                        Under 5 U.S.C. Â§552(a)(4)(A)(iii), â€œDocuments shall be
                                        furnished without any
                                        charge ... if disclosure of the information is in the public
                                        interest
                                        because it is likely to contribute significantly to public
                                        understanding of
                                        the operations or activities of the government and is not
                                        primarily in the
                                        commercial interest of the requester.â€ Disclosure in this
                                        case meets the
                                        statutory criteria, as the records sought to detail the
                                        operations and
                                        activities of government. This request is also not primarily
                                        in my
                                        commercial request, as I am seeking the records as a
                                        journalist to analyze
                                        and freely release to members of the public.

                                        If I am not granted a complete fee waiver, I request to be
                                        considered a
                                        member of the news media for fee purposes. I am willing to pay
                                        all
                                        reasonable duplication expenses incurred in processing this
                                        FOIA request.

                                        I will appeal any denial of my request for a waiver
                                        administratively and to
                                        the courts if necessary.



             Documentation Files




                    Non-Individual FOIA Request



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2/12/24, 12 55 PM   Case 1:24-cv-00471-TNM                    Document
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                                                                          eFOIA Request 02/20/24                Page 7 of 10
             Request Information        I request disclosure from the FBI the following records:

                                        1. A copy of the FBI's investigative case file (including
                                        opening and
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                                        Joe Biden's
                                        residence and think tank where classified records were found
                                        and retrieved.
                                        2. All FD-302s or other transcripts or summaries of interviews
                                        (handwritten
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                                        Special Counsel
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                                        formal requests for
                                        a classification review from other executive branch/federal
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                                        agencies related to the classified documents retrieved from
                                        President
                                        Biden's residence and think tank and the final responses the
                                        agencies sent
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                                        According to Special Counsel Robert Hur's report: "The FBI and
                                        the Special
                                        Counsel's Office undertook an extensive investigation into Mr.
                                        Biden's
                                        handling of classified information and of the classified
                                        documents the FBI
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                                        investigation thoroughly
                                        and expeditiously. Investigators conducted 173 interviews of
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                                        (I) the agency reasonably foresees that disclosure would harm
                                        an interest
                                        protected by an exemption described in subsection (b); or

                                        (II) disclosure is prohibited by law; and

                                        (ii) (I) consider whether partial disclosure of information is
                                        possible
                                        whenever the agency determines that a full disclosure of a
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                                        information. . . .

                                        FBI and its components should not fail to meet the
                                        requirements of Section
                                        552(a)(8) when processing my request and release responsive
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https://mail.google.com/mail/u/0/?ik=743397d0be&view=pt&search=all&permthid=thread-f:1790371263730559229&simpl=msg-f:1790371263730559229   4/7
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                                        full or at least in part.




                    Expedite




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2/12/24, 12 55 PM     Case 1:24-cv-00471-TNM                  Document
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                                                                          eFOIA Request 02/20/24                Page 9 of 10
                    Expedite Reason     On Feb. 8, 2024, the Department of Justice released a 388-page
                                        copy of
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                                        issues about his memory, both of which will no doubt become an
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                                        the hotly contested 2024 presidential campaign where President
                                        Biden will
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                                        The statements in Special Counsel Hur's report about President
                                        Biden's
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                                        Moreover, President Biden's White House counsel and his
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                                        representation of the
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https://mail.google.com/mail/u/0/?ik=743397d0be&view=pt&search=all&permthid=thread-f:1790371263730559229&simpl=msg-f:1790371263730559229   6/7
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                                        these records
                                        to write news stories and inform the public.

                                        I certify the foregoing to be true and correct to the best of
                                        my knowledge
                                        and belief. /s/          JL               Jason Leopold
                                        Fee Information




    **

    Please be advised that efoia@subscriptions.fbi.gov is a no-reply email address. Questions regarding your FOIA request
    may be directed to foipaquestions@fbi.gov. If you have received a FOIPA request number, please include this in all
    correspondence concerning your request. Please note eFOIPA requests are processed in the order that they are received.
    If you have not received a FOIPA request number, your request is in the process of being opened at which time it will be
    assigned a FOIPA request number and correspondence will be forthcoming.

    **

    Upon receipt of your FOIPA request number, you may check the status of your FOIPA request on the FBIâ€™s electronic
    FOIA Library (The Vault) on the FBIâ€™s public website, http://vault.fbi.gov by clicking on the â€˜Check Status of Your
    FOI/PA Request toolâ€™ link. Status updates are performed on a weekly basis. If you receive a comment that your FOIPA
    request number was not located in the database, please check back at a later date.




https://mail.google.com/mail/u/0/?ik=743397d0be&view=pt&search=all&permthid=thread-f:1790371263730559229&simpl=msg-f:1790371263730559229   7/7
